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              UNITED STATES DISTRICT COURT FOR THE
                    DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                Criminal No. 08-cr-85-02-SM

Justin Reynolds



                  ORDER OF DETENTION PENDING TRIAL


     In accordance with Section 3142(f) of the Bail Reform Act,

18 U.S.C. §§ 3141 et seq., a hearing was conducted on April 23,

2009, for the purpose of determining whether to detain defendant,

Justin Reynolds, who has been indicted on one conspiracy to

commit robbery, one count of attempted robbery, one count of use

of a firearm in relation to a crime of violence, and one count of

possession of a firearm by a convicted felon.

     Under 18 U.S.C. § 3142(b), a court, in making a

determination regarding detention, must evaluate the risk of the

defendant’s flight, the risk to the safety of any other person,

and the risk to the safety of the community.         In circumstances

when detention is not mandated by the court, the court is

nonetheless empowered to impose conditions on release.            18 U.S.C.

§ 3142(c).

     Pursuant to the provisions of 18 U.S.C. § 3142(g) a court,
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in assessing the risks noted in 18 U.S.C. § 3142(b), shall

consider the following: (1) the nature and circumstances of the

offense charged; (2) the weight of the evidence as to guilt;

(3) the history and characteristics of the accused, including

family ties, past history, financial resources and employment;

and (4) the nature and seriousness of the danger to any person or

the community that would be posed by a release.

     During the course of a hearing conducted pursuant to 18

U.S.C. § 3142, the government typically retains the burden of

persuading the court that “‘no condition or combination of

conditions will reasonably assure’ the defendant’s presence at

trial.”   United States v. Perez-Franco, 839 F.2d 867, 870 (1st

Cir. 1988)(quoting United States v. Palmer-Contreras, 835 F.2d

15, 17-18 (1st Cir. 1987)); United States v. Patriarca, 948 F.2d

789, 793 (1st Cir. 1991).     For its part, the government is

required to offer a preponderance of the evidence to prove risk

of flight.   See Patriarca, 948 F.2d at 792-93.         Facts necessary

to find that no combination will reasonably assure the safety of

any person and the community require satisfaction of the “clear

and convincing” standard.     18 U.S.C. § 3142(f)(2).

     In the case at hand, the indictment itself contitutes



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probable cause to believe that the offenses charged have been

committed and that the defendant has committed them.

     Here, I find that the government has met its burden with

regard to danger to the community.            Specifically, defendant is a

heroin addict who had drugs and a gun on him at the time of

arrest.     He was wearing the same sweatshirt that he wore while

casing the “Clam King” for a robbery.            He has jumped bail in the

past.     He committed the crime while on probation.

     I am satisfied from the representations and documents

offered during the hearing that no condition or combination of

conditions will reasonably assure the safety of the community.

     Upon full consideration of the arguments offered by the

government and defense, I am satisfied that the defendant poses a

danger to the community.

     Accordingly, it is ORDERED that the defendant be detained

pending trial.

        The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.      The defendant shall be afforded a reasonable


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opportunity for private consultation with defense counsel.                 On

order of a court of the United States or on request of an

attorney for the Government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding.

      SO ORDERED.


                                  ______________________________
                                  James R. Muirhead
                                  United States Magistrate Judge


Date: April 23, 2009

cc:    Kenneth L. Perkes, Esq.
       James D. Gleason, Esq.
       U.S. Marshal
       U.S. Probation




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